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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


ATLANTIC RECORDING
CORPORATION, LAFACE
RECORDS LLC, SONY MUSIC
ENTERTAINMENT, UMG
RECORDINGS, INC., WARNER                          Civil Action No.
BROS. RECORDS INC., ARISTA                        1:17-CV-00431-AT
MUSIC, ARISTA RECORDS LLC,
BAD BOY RECORDS LLC,
CAPITOL RECORDS, LLC,
ELEKTRA ENTERTAINMENT
GROUP INC., ROC-A-FELLA
RECORDS, LLC, SONY MUSIC
ENTERTAINMENT US LATIN LLC,
and ZOMBA RECORDING LLC,

      Plaintiffs,

      v.

SPINRILLA, LLC and JEFFERY
DYLAN COPELAND,

      Defendants.


                MOTION TO SUBSTITUTE MOTION FOR
               LEAVE TO FILE DOCUMENT UNDER SEAL

     Plaintiffs hereby request that the Court withdraw Plaintiffs Motion for Leave

to File Document Under Seal (Dkt. 196) and accompanying Proposed Order (Dkt.



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196-1) and substitute such documents with the Parties’ Joint Motion for Leave to

File Document Under Seal and Proposed Order, attached hereto.

This 13th day of April, 2018.               Respectfully submitted,

                                            /s/ Kenneth L. Doroshow

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         CERTIFICATE OF COUNSEL REGARDING FONT SIZE


      I, Kenneth L. Doroshow, an attorney, hereby certify that the foregoing has

been prepared with a font size and point selection (Times New Roman, 14 pt.) which

is approved by the Court pursuant to Local Rules 5.1(C) and 7.1(D).


                                              /s/ Kenneth L. Doroshow
                                              KENNETH L. DOROSHOW




                          CERTIFICATE OF SERVICE


      I, Kenneth L. Doroshow, an attorney, hereby certify that on this 13th day of

April, 2018, Plaintiffs’ Motion to Substitute Motion for Leave to File Documents

Under Seal was electronically filed with the Clerk of Court using the CM/ECF

system, which will automatically send electronic notification and a service copy of

this filing to all counsel of record who have appeared in this matter.



                                              /s/ Kenneth L. Doroshow
                                              KENNETH L. DOROSHOW




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